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                            EXHIBIT 13
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


PSARA ENERGY, LTD.,                   §
Plaintiff,                            §
                                      §                     Civil Action No. 2:16-CV-________
           v.                         §
                                      §                     JUDGE_______________________
SPACE SHIPPPING, LTD; ADVANTAGE       §
ANTHEM SHIPPING, LLC; GENEL           §                     MAG. JUDGE__________________
DENIZCILIK NAKLIYATI A.S. A/K/A GEDEN §
LINES; GEDEN HOLDINGS, LTD;           §                     ADMIRALTY
ADVANTAGE TANKERS, LLC;               §
ADVANTAGE HOLDINGS, LLC; FORWARD §
HOLDINGS, LLC; MEHMET EMIN            §
KARAMEHMET; and GULSUN NAZLI          §
KARAMEHMET -WILLIAMS                  §
                                      §
                                      §
                       Defendants.    §


                            ORIGINAL VERIFIED COMPLAINT

       COMES NOW, Plaintiff PSARA ENERGY, LTD by and through undersigned counsel, for

its Original Verified Complaint against Defendants: SPACE SHIPPPING, LTD; ADVANTAGE

ANTHEM SHIPPING, LLC; GENEL DENIZCILIK NAKLIYATI A.S. A/K/A GEDEN LINES;

GEDEN HOLDINGS, LTD; ADVANTAGE TANKERS, LLC; ADVANTAGE HOLDINGS,

LLC, FORWARD HOLDINGS, LLC;                MEHMET EMIN KARAMEHMET; and GULSUN

NAZLI KARAMEHMET -WILLIAMS and alleges and pleads as follows:

                         I. JURISDICTION, VENUE AND PARTIES

1.     This is an admiralty and maritime claim within the meaning of rule 9(h) of the Federal

Rules of Civil Procedure in that it involves claims for the breach of a maritime contract i.e. an

executed bareboat charter party for the employment of a seagoing cargo vessel. This case also falls

under this court's admiralty and maritime jurisdiction pursuant to 28 U.S.C. § 1333, and is brought

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under the provisions of Rule B of the Supplemental Rules For Certain Admiralty and Maritime

Claims, and the Federal Arbitration Act, 9 U.S.C. §§ 4, 8 in aid of maritime arbitration.

       2.      At all times material hereto Plaintiff, PSARA ENERGY, LTD (hereinafter

“PSARA” or “Plaintiff”), was a corporation organized under the laws of the Republic of the

Marshall Islands and the registered owner of the Motor Tanker CV STEALTH (hereinafter the

“CV STEALTH”), a crude oil tanker vessel registered in Malta.

       3.      At all times material hereto Defendant, SPACE SHIPPPING, LTD. (hereinafter

“SPACE”), was and is a foreign company organized under the laws of Malta and the bareboat

charterer of the CV STEALTH under a bareboat charter party contract dated February 23, 2010

(“the bareboat charter”). A copy of the bareboat charter is attached hereto as EXHIBIT 1.

       4.      At all times material hereto Defendant, ADVANTAGE ANTHEM SHIPPING,

LLC (hereinafter “ANTHEM SHIPPING”) was, and is a corporate entity organized under the laws

of the Commonwealth of the Bahamas , and the registered owner of Motor Tanker ADVANTAGE

ANTHEM, a tanker vessel registered in the Marshall Islands, with IMO No. 9472634 and

international call sign V7KZ4.

       5.      At all times material hereto Defendant GENEL DENIZCILIK NAKLIYATI A.S.

A/K/A GEDEN LINES (hereinafter “GEDEN”) was and is a foreign corporate entity organized

under the laws of Turkey and the Operator, ISM Manager, and Manager of the CV STEALTH,

under the bareboat charter (see EXHIBIT 1, at box 4); see also attached copies of the GEDEN

webpage hereto attached as EXHIBIT 2, and also the Operator, ISM Manager, and Manager of

the ADVANTAGE ANTHEM.

       6.      At all times material hereto GEDEN HOLDINGS, LTD. (hereinafter “GEDEN

HOLDINGS”) was and is a foreign corporate entity organized under the laws of Malta, and is the



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guarantor of the performance of the bareboat charter by its wholly owned subsidiary SPACE.

       7.     At all times material hereto ADVANTAGE TANKERS, LLC (hereinafter

"ADVANTAGE TANKERS") was a foreign limited liability company organized under the laws

of   the Marshall Islands, and as a holding company owns 100% of defendant ANTHEM

SHIPPING.

       8.     At all times material hereto ADVANTAGE HOLDINGS, LLC (hereinafter

"ADVANTAGE HOLDINGS") was a foreign limited liability company organized under the laws

of the Marshall Islands, and as a holding company owns 100% of defendant ADVANTAGE

TANKERS.

       9.     At all times material hereto FORWARD HOLDINGS, LLC (hereinafter

"FORWARD HOLDINGS") was a foreign limited liability company organized under the laws of

the Marshall Islands, and as a holding company owns 100% of defendant ADVANTAGE

HOLDINGS.

       10.    At all times material hereto MEHMET EMIN KARAMEHMET (hereinafter

“EMIN KARAMEHMET” ) is an individual person and a citizen and resident of the Republic of

Turkey and respectively through a Panamanian corporation that he entirely controls, Buselten

Finance, S.A. is the 100% shareholder of Defendant GEDEN HOLDINGS.

       11.    At all times material hereto GULSUN NAZLI KARAMEHMET–WILLIAMS

(hereinafter “KARAMEHMET-WILLIAMS”) is an individual person and a dual citizen of the

Republic of Turkey and the Swiss Confederation and a resident of the United Kingdom and

through intermediary holding companies FORWARD HOLDINGS, ADVANTAGE HOLDINGS

is the 85% controlling shareholder of ADVANTAGE TANKERS.

       12.    The jurisdiction of this Honorable Court is founded on the presence within the



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District of property of the Defendants that may be attached by process of maritime attachment

and garnishment under the provisions of Rule B of the Supplemental Rules for Certain Admiralty

and Maritime Claims, as pled more fully in Section V of this Original Verified Complaint.

                               II. THE SUBSTANTIVE CLAIMS

       13.     Under the bareboat charter party dated February 23, 2010 (“the bareboat charter”)

and addenda thereto dated June 2, 2010; June 21, 2010; and January 29 2010 Plaintiff chartered

its vessel CV STEALTH for a “a term of 5 years straight period +/- 30 days in Charterer's option

plus 1 or 2 years optional year(s) declaration by Charterers 5 months prior end of the firm period”

to “Geden Holdings Limited, Malta or nominee always guaranteed by Geden Lines.” See

EXHIBIT 1, box 21, 4. The vessel was delivered to the service of the nominee of Geden Holding

Ltd. i.e. SPACE and to GEDEN LINE and was used and operated for profit by them as part of

GEDEN’s managed non-owned fleet. See copies of relevant pages from the website of GEDEN

LINE advertising the CV STEALTH hereto attached as EXHIBIT 2.

       14.      Plaintiff delivered the vessel into the bareboat chartered service and rendered, and

continues to render, the contractual performance required of it. However, Defendants SPACE and

GEDEN and GEDEN HOLDINGS, (hereinafter collectively referred to as “Charterers”), though

possessing and using the CV STEALTH, are failing and refusing to perform their hire payment

obligations under the bareboat charter party contract and are in default and indebted to Plaintiff in

respect of unpaid hire, as set out below.

       15.     Under the terms of the bareboat charter the latest date for the redelivery of the CV

STEALTH was on June 22nd 2015. However, Charterers, in breach of the bareboat charter have

failed to redeliver her to Plaintiff - her lawful owner - and at the same time are failing since May

2015 to pay Plaintiff the daily hire as the bareboat charter requires.



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         16.   The outstanding amount which remains unpaid from May 1, 2015 through February

29, 2016 is US$ 3,408,176.00.

         17.   Through Court proceedings in the United Kingdom Plaintiff has attached funds of

the Charterers in the amount of US$ 2,000,000.00 and accordingly the unsecured amount of earned

bareboat charter hire that Plaintiff has not yet secured is US$ 1,408,176.00.

         18.   The Charterers continue to possess the CV STEALTH but are unjustly failing pay

Plaintiff the amounts they owe in respect of unpaid charter hire for such amounts as Plaintiff has

been unable to secure i.e. US$ 1,408,176.00.

                   III. UNDERLYING PROCEEDINGS ON THE MERITS

         19.   Box 35 and clause 30(a) of the bareboat charter party (EXHIBIT 1) provides for

arbitration of all disputes arising out of the contract in London.

         20.   Plaintiff is claiming the said amount of unpaid and unsecured hire in ongoing

arbitration proceedings in London.

         21.   Plaintiff estimates the legal costs that will be incurred to pursue these claims in

London maritime arbitration proceedings will be approximately US$ 200,000.00.              As it is

customary in London arbitration, legal costs, including lawyers’ fees, are awarded to the prevailing

party.

         22.   This action is an ancillary proceeding, brought in order to obtain jurisdiction over

Defendant Charterers and to obtain security for Plaintiff’s claims in the London proceedings.

                        IV. DEFENDANTS’ CORPORATE IDENTITY

         23.   The grouping of the following corporate entities: ADVANTAGE TANKERS; its

subsidiary ANTHEM SHIPPING; ADVANTAGE HOLDINGS; FORWARD HOLDINGS; and




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10 other one-ship-company entities, subsidiaries of ADVANTAGE TANKERS1 (said grouping

hereinafter collectively referred to for the sake of brevity as “Advantage-Group”), comprise

successor corporate business entities of the grouping constituted of: GEDEN HOLDINGS;

GEDEN; SPACE; and 11 other former one-ship-companies2, subsidiaries of GEDEN HOLDINGS

(hereinafter collectively referred to for the sake of brevity as “Geden-Group”).

        24.      The Advantage-Group corporate entities are successors of the Geden-Group

corporate entities in that: a) the former have acquired and are respectively in possession of the

trading assets of the latter3 (the 11 tanker vessels) ; b) occupy and carry on business from the same

business premises as the latter; c) by and through identical personnel, have common officers and

directors with the latter; d) have taken over and are servicing the same customers as were being

served by the latter; e) have virtually the same financing banks financing their business as the

latter; f) and have as shareholders members of the same family group that the former have

represented to be their ultimate control, i.e. members of the Karamehmet family, as is more

specifically averred below.

        25.      As part of a privately arranged business reorganization conceived and implemented

by the management of the Geden-Group, in collaboration with EMIN KARAMEHMET and

KARAMEHMET–WILLIAMS, the one-ship-companies of the Geden-Group “sold” the



1 Foreign limited liability companies: Advantage Solar Shipping, LLC; Advantage Sky Shipping, LLC; Advantage
Start Shipping, LLC; Advantage Arrow Shipping, LLC; Advantage Avenue Shipping, LLC; Advantage Award
Shipping, LLC; Advantage Atom Shipping, LLC; Advantage Summer Shipping, LLC; Advantage Spring Shipping,
LLC; Advantage Sun Shipping, LLC
2 Foreign limited liability companies: Profit Shipping, Ltd.; Blue Shipping, Ltd.; Blank Shipping, Ltd.; Target

Shipping, Ltd.; True Shipping Ltd.; Value Shipping, Ltd; Bravo Shipping, Ltd; Barbaros Maritime, Ltd; Pink
Shipping, Ltd; Reef Shipping Ltd.; Prima Shipping, Ltd.
3 The said assets are the tankers: PROFIT now renamed ADVANTAGE SOLAR; BLUE now renamed

ADVANTAGE SKY; BLANK now renamed ADVANTAGE START; TARGET now renamed ADVANTAGE
ARROW; TRUE now renamed ADVANTAGE AVENUE; VALUE now renamed ADVANATGE AWARD;
BRAVO now renamed ADVANTAGE ATOM; POWER now renamed ADVANTAGE ANTHEM; PINK now
renamed ADVANTAGE SUMMER; REEF now renamed ADVANTAGE SPRING; ROYAL now renamed
ADVANATGE SUN. For the sake of brevity these vessels will be collectively referred to as "the 11 tankers".

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respective vessels each one of them had owned to its homologous Advantage-Group one-ship-

company, with these transactions occurring approximately during the first and second quarter of

2015.

        26.   Notwithstanding the transfer of ownership of the respective vessels from the

Geden-Group one-ship-companies, to the respective Advantage-Group one-ship-companies, all of

the time charter parties under which the said respective vessels, before and at the time of the

transfer, were being employed by Shell Western Supply and Trading, Ltd. continued seamlessly.

This was accomplished under contractual arrangements with Shell Western, worked out by

GEDEN HOLDINGS and KARAMEHMET-WILLIAMS, whereby the said charterer parties,

several of which had significant unexpired terms, were renewed for a 5 year period, at rates and

on such other terms as were agreed on behalf of the Advantage-Group one-ship-companies by

GEDEN HOLDINGS.

        27.   Notwithstanding the purported transfer of ownership of the respective vessels from

the Geden-Group one-ship-companies to the respective Advantage-Group one-ship-companies,

GEDEN HOLDINGS represented and warranted to Shell Western Supply and Trading, Ltd that it

retained ownership over the Advantage-Group one-ship-companies.

        28.   Notwithstanding the transfer of ownership of the respective vessels from the

Geden-Group one-ship-companies to the respective Advantage-Group one-ship-companies, all

day-to-day shore-side operations of the 11 tankers continue to be performed by GEDEN, including

respective safety management, security management, crewing, victualing, supplying, technical

monitoring and supervision, drydocking and repairs, accounting, and generally every function

necessary in order to keep and maintain the said vessels trading as merchant vessels in the same

manner and to the same extent that GEDEN had performed same before the said transfer of



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ownership for same 11 tankers.

       29.     Notwithstanding the transfer of ownership of the 11 tankers from the Geden-Group

one-ship-companies to the respective Advantage-Group one-ship-companies, the majority of the

lenders that financed the acquisition of the vessels by the Group-Advantage one-ship companies

remained the same, with the rollover-like refinancing arrangements and ship mortgaging

arrangements having been negotiated and worked out by GEDEN HOLDINGS.

       30.     The identity of the ultimate controlling shareholder of the Advantage–Group after

the transfer, i.e. KARAMEHMET–WILLIAMS remained unchanged, as it had been represented

by GEDEN HOLDINGS and its directors before the transfer i.e. in the hands of the “Karamehmet

family,” of which Defendant Gulsun Nazli Karamehmet Williams is a member, being the daughter

and only child of Defendant Mehmet Emin Karamehmet.

       31.     The defendants GEDEN HOLDINGS, GEDEN, ADVANTAGE TANKERS, and

the respective one-ship-companies of the Geden-Group and Advantage-Group have in common

key management personnel including the same Chief Executive Officer and Chief Financial

Officer, and share a common director.

       32.     By reason of the foregoing facts pled in averments ¶¶ 28 through 36,

ADVANTAGE TANKERS and the one-ship-companies it holds is a mere continuation of the

business of GEDEN, GEDEN HOLDINGS, and the one-ship companies that formerly owned the

said vessels, with the latter entities having been absorbed by the former, as evidenced by the

identity of assets, location, management, personnel, and stockholders.

         33.   Notwithstanding the formal separate incorporation of the respective corporate

defendants, the grouping of corporate entities: ADVANTAGE TANKERS; ADVANTAGE

HOLDINGS; FORWARD HOLDINGS; and ANTHEM SHIPPING are in actual fact alter egos,



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agents and /or instrumentalities, and/or partners of the corporate business within the grouping

comprised of GEDEN HOLDINGS; GEDEN; BARBAROS; SPACE and the individual

Defendants EMIN KARAMEHMET and KARAMEHMET-WILLIAMS, as is more specifically

averred below.

        34.      Under a business reorganization plan that GEDEN commissioned, dated March 6,

2013, restructuring of ownership of assets was recommended by its specialist advisors whereby

GEDEN HOLDINGS would be replaced by another new holding company of all of the one-ship-

companies of the Geden-Group. See Report of AlixPartners hereto attached as EXHIBIT 3. The

recommended structure involving the new holding company “newco”, as it was referred to in the

plan and by Defendants, “[p]rovides for recategorization of exposure from "Geden Holdings Ltd.”

to Newco where equity is "in-the-money" and shareholders are better incentivized to provide

ongoing support.” See EXHIBIT 3 at p. 40. A principal objective of the proposed restructuring

was to “Ring-fence potential sources of disruption, holdout, or nuisance (such as arrests or sister-

ship arrests).” Id.

        35.      The recommended Geden-Group’s re-organization in the form in which it was

finally implemented involved the incorporation of the entities of the Advantage-Group as the

“Newco’s” and the transfer of all of the former’s shipping assets (vessels) held by its 100% owned

one-ship-companies to one-ship-companies controlled by the latter, and changing of the vessels’

respective flags, registrations, and names. As a result of this implementation, ADVANTAGE

TANKERS became a successor business entity of GEDEN HOLDINGS with the objective and for

the purpose of “ring-fencing” the assets of GEDEN HOLDINGS from attachment by creditors

such as Plaintiff, i.e. in order to unjustly evade and thwart existing or anticipated claims of non-

lending creditors, including Plaintiff and other owners of vessels under bareboat charters. Such



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non-owned vessels, according to GEDEN’s reorganization expert’s report “make up the residual

fleet and are not part of the Company's [i.e. GEDEN’s] future. These include[d] the vessels funded

by FSL, Icon, Octavian and Stealth when traditional financing was unavailable.” See EXHIBIT 3

at p. 26. The CV STEALTH was expressly named in this ownership restructuring plan of

Defendant, as one of the vessels that are not part of GEDEN’s future. Id. Table of chartered-in

vessels.

       36.     Defendants EMIN KARAMEHMET AND KARAMEHMET-WILLIAMS, the

members of the Karamehmet family that ultimately controls the Geden-Group and the Advantage-

Group, dominated and controlled the entities that comprise these as pled in detail below.

       37.     Both, the Geden-Group and the Advantage Group corporate entities are ultimately

owned by EMIN KARAMEHMET AND KARAMEHMET-WILLIAMS.

       38.     Both, the Geden-Group and the Advantage-Group corporate entities have common

directors and officers which constitute their respective management team, e.g.: Togrul Tokgoz is

a director common to all of the said entities, and is also their Chief Executive Officer, Mehmet

Mat, was and is the Chief Financial Officer of all of the corporate entities within the Geden-Group

and the Advantage-Group corporate entities.

       39.     GEDEN HOLDINGS and ADVANTAGE TANKERS, the corporate entities which

hold the shares/stock of the respective one-ship-companies that own the respective vessels are

mere holding companies, passively holding the said shares/stock without actively engaging in any

business activity of their own. ADVANTAGE HOLDINGS and FORWARD HOLDINGS are,

similarly, mere intermediary holding companies with their sole function being to hold the

shares/stock of ADVANTAGE TANKERS on behalf of KARAMEHMET-WILLIAMS.

       40.     GEDEN HOLDINGS, ADVANTAGE TANKERS, ADVANTAGE HOLDINGS,



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FORWARD HOLDINGS and the respective one-ship-companies of the two groups do not have

any employees, payroll, or day to day business activity of their own. However, they have in

common and share the same business departments that operate and manage the respective 11

tankers, i.e. they have the same operations; technical; marine; insurance; crewing; accounts;

chartering and post-fixture departments operated by GEDEN with the employees of GEDEN

performing the same functions as they did on behalf of GEDEN HOLDINGS’ 11 one-ship-

companies before the transfer.

       41.     The corporate entities of the Geden-Group and those of the Advantage-Group have

the same operating office address which is: “Buykdere Cad. Yapi Credi Plaza, A Block K:12

34330 Levent-Istanbul – Turkey.” In addition, these entities share the same telephone numbers

and faxes.

       42.     ADVANTAGE TANKERS was established as a corporate entity by GEDEN and

GEDEN HOLDINGS. GEDEN HOLDINGS performed on behalf of ADVANTAGE TANKERS

all of its pre-incorporation activity, including: reserving its corporate name, and arranging for its

formal incorporation; negotiating and carrying-on business on its behalf before it was

incorporated; dealing with financial institutions on behalf of the yet unformed LLC and accepting

on its behalf financing commitment letters; negotiating loan agreement financing terms; and

undertaking the obligation to pay ADVANTAGE TANKERS’ costs, fees, and expenses relating

thereto.

       43.     GEDEN HOLDINGS and GEDEN pursued negotiations with existing and other

prospective lenders of ADVANTAGE TANKERS and made the necessary lending, security, and

other arrangements that were necessary conditions for the transfer of the assets (the vessels) of the

11 one-ship-companies controlled by GEDEN HOLDINGS into the ownership of the 11 one-ship-



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companies controlled by ADVANATGE TANKERS. As part of these transactions for the

financing of ADVANTAGE TANKERS by GEDEN and GEDEN HOLDINGS, GEDEN

HOLDINGS bound itself to pay all related fees and costs to the lenders of ADVANTAGE

TANKERS. GEDEN HOLDINGS also ceded in favor of ADVANTAGE TANKERS, as part of

the financing packages it worked out, valuable charter parties its subsidiaries had with Shell

Western.

       44.     As pled in the foregoing under ¶¶ 29, 30, Defendant GEDEN HOLDINGS

committed prospectively to long term chartered employment with Shell Western Supply and

Trading Limited the entire fleet of vessels that were to be acquired in the future by ADVANTAGE

TANKERS upon daily hire rates and other terms of its choosing and ADVANTAGE TANKERS

was thereby bound to perform what business its predecessor chose for it.

       45.     Even though ADVANTAGE TANKERS and its controlling shareholder

KARAMEHMET-WILLIAMS have endeavored to represent as an arm’s length sale the transfer

to ADVANTAGE TANKERS of the 11 tankers formerly held through one-ship-companies by

GEDEN HOLDINGS, the facts bely such representations. GEDEN HOLDINGS’ own Consent

Letter to Shell Western Supply and Trading Limited shows that GEDEN HOLDINGS itself did

not regard and did not represent the transaction with ADVANTAGE TANKERS                         as a

straightforward sale. Rather, it referred to it as part of “reorganization efforts being conducted by

existing shareholders" with GEDEN HOLDINGS remaining ultimately the overall holding

company. See Consent Letter copy hereto attached as EXHIBIT 4 at p.1 ¶ 2. The surrounding

circumstances of the purported sale bear this out in that the creation of ADVANTAGE TANKERS,

the negotiation of refinancing with lending banks, the negotiation of charter parties with Shell, the




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loan terms, were the work of GEDEN HOLDINGS, even before ADVANTAGE TANKERS had

come into existence.

       46.     ADVANTAGE TANKERS before it even came into being negotiated through

GEDEN HOLDINGS, which acted on its behalf, loans valued in the hundreds of millions of dollars

to finance its acquisition of the 11 tankers valued at approximately $ 1/2 billion, without as much

as a letter of authorization from ADVANTAGE TANKERS or KARAMEHMET-WILLIAMS,

who became its controlling shareholder. In a similar manner defendant EMIN KARAMEHMET

verbally ordered GEDEN HOLDINGS' CEO Tugrul Tokgoz to sell the vessels GEDEN

HOLDINGS owned through its wholly owned subsidiaries, without as much as a formal meeting

of shareholders or written resolution authorizing the virtual liquidation of the said holding

company. The complete absence of corporate formalities is characteristic and a feature of the

manner in which GEDEN HOLDINGS transferred its assets to ADVANTAGE TANKERS i.e.

without any corporate formalities being observed.

       47.     It is expressly provided in the restructuring plan used by defendants that one of the

purposes of the reorganization was to ring-fence assets, specifically those formally held by

GEDEN HOLDINGS, in order to put them out of the reach of creditors through the device of

"newcos." GEDEN HOLDINGS indeed created the Marshall Islands - incorporated LLC's that

comprise the Advantage-Group, which is made up entirely of "newcos", and transferred all 11

tankers to it. By taking said specific actions to put these plans into effect Defendants acted

purposely to put assets beyond the reach of creditors. Though Defendants have represented the

said transactions as arm’s length sales, the surrounding facts and circumstances pled in the

foregoing negate this.

       48.     It was expressly represented to Plaintiff by Defendant GEDEN HOLDINGS acting



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by and though its Director and Chief Executive officer Togrul Tokgoz, who also served in the

same capacities GEDEN and GEDEN HOLDINGS, that it was GEDEN HOLDINGS that owned

the shares of the single-ship-companies that owned the fleet that GEDEN claimed to own and

operate. See letter of GEDEN HOLDINGS signed by its CEO Tugrul Tokgoz hereto attached as

EXHIBIT 5. The fleet of the said vessels included, according to public statements of GEDEN

HOLDINGS’ management, the Motor Tanker POWER. See extracts from Universal Maritime

Inc. See Prospectus hereto attached as EXHIBIT 64 at pp. 77, 84, 86; 87.

         49.      Ultimately, the M/T POWER and all other vessels of the GEDEN fleet of tankers

and dry cargo vessels were controlled by Defendant members of the Karamehmet family who

exercised their control through their intermediary companies                       Buselten Finance S.A., a

Pamamanian holding company and Cukurova Holding A.S., a Turkish conglomerate.

         50.      As a result of the implementation of the reorganization plan of GEDEN

HOLDINGS into ADVANTAGE TANKERS Defendants caused the Geden-Group one-ship-

companies which controlled eleven (11) of its largest and most profitable tankers to be “sold” to a

new set of one-ship-companies (“newco’s”), as it had planned and contemplated to do under its

re-structuring scheme noted in the foregoing, and had these vessels re-named and reflagged – from

the Maltese to the Marshall Islands flag. Thus the ownership/flag/name of the ships were changed

as follows:

FORMER NAME: PROFIT
NEW NAME: ADVANTAGE SOLAR
FORMER OWNER: PROFIT SHIPPING LTD
NEW OWNER: ADVANTAGE SOLAR SHIPPING LLC
-----------------------------------------------------------------------
FORMER NAME: TARGET
NEW NAME: ADVANTAGE ARROW

4  The entire prospectus is approximately 230 pages. For this Original Verified Complaint, Plaintiff has included the
introductory pages of the prospectus and relevant excerpts referred to herein. Plaintiff will provide the complete
prospectus should this Honorable Court request a copy of same.

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FORMER OWNER: TARGET SHIPPING LTD.
NEW OWNER: ADVANTAGE ARROW SHIPPING LLC
---------------------------------------------------------------------------
FORMER NAME: TRUE
NEW NAME: ADVANTAGE AVENUE
FORMER OWNER: TRUE SHIPPING LTD.
NEW OWNER: ADVANTAGE AVENUE SHIPPING LLC
-----------------------------------------------------------------------------
FORMER NAME: BLUE
NEW NAME: ADVANTAGE SKY
FORMER OWNER: BLUE SHIPPING LTD.
NEW OWNER: ADVANTAGE SKY SHIPPING LLC
----------------------------------------------------------------------------
FORMER NAME: PINK
NEW NAME: ADVANTAGE SUMMER
FORMER OWNER: PINK SHIPPING LTD.
NEW OWNER: ADVANTAGE SUMMER SHIPPING LLC
----------------------------------------------------------------------------

FORMER NAME: BLANK
NEW NAME: ADVANTAGE START
FORMER OWNER: BLANK SHIPPING LTD.
NEW OWNER: ADVANTAGE START SHIPPING LLC
----------------------------------------------------------------------------
FORMER NAME: REEF
NEW NAME: ADVANTAGE SPRING
FORMER OWNER: REEF SHIPPING LTD
NEW OWNER: ADVANTAGE SPRING SHIPPING LLC
--------------------------------------------------------------------------
FORMER NAME: BRAVO
NEW NAME: ADVANTAGE ATOM
FORMER OWNER: BRAVO SHIPPING LTD.
NEW OWNER: ADVANTAGE ATOM SHIPPING LLC
---------------------------------------------------------------------------
FORMER NAME: POWER
NEW NAME: ADVANTAGE ANTHEM
FORMER OWNER: BARBAROS MARITIME LTD.
NEW OWNER: ADVANTAGE ANTHEM SHIPPING LLC
------------------------------------------------------------------------------
FORMER NAME: VALUE
NEW NAME: ADVANTAGE AWARD
FORMER OWNER: VALUE SHIPPING, LTD
NEW OWNER: ADVANTAGE AWARD SHIPPING, LLC.
-------------------------------------------------------------------------------
FORMER NAME: ROYAL
NEW NAME: ADVANTAGE SUN

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FORMER OWNER: PRIMA SHIPPING, LTD.
NEW OWNER: ADVANTAGE SHIPPING, LLC



       51.    Attached hereto and marked as EXHIBIT 7 is a diagrammatic representation of the

ownership/control structure of the former Geden-Group one-ship-companies following the transfer

of the 11 tankers – as noted in the foregoing – to the control of the Advantage-Group which is

extracted from the Marshall Islands Vessel Register record of a Mortgage dated April 2, 2015 “in

respect of the vessel M.V. “ADVANTAGE ANTHEM” ex “POWER”.

       52.    Specifically with reference to the M/T POWER the respective changes made to the

registration and ownership structure of this vessel are as follows: the vessel was sold by her

previous owner Barbaros Maritime, Ltd. to her present owner Advantage Anthem Shipping, LLC

and was renamed ADVANTAGE ANTHEM (See Document extract from p. 24 of the refinancing

Loan Agreement loan agreement dated May 13, 2015 excerpts of which are hereto attached as

EXHIBIT 8). The holding company of the corporate owner of the vessel, became ADVANTAGE

TANKERS, LLC., which also became the loan agreement guarantor (Id. p. 12) and the commercial

manager remained Genel Denizcilik Naklyiati A.S. i.e. Defendant Geden Lines, (Id. at p.5), which

also remained the vessel's technical manager. See Extract from mortgage on the ADVANTAGE

ANTHEM dated May 13, 2014, hereinafter referred to as EXHIBIT 9, at 14 ¶ 6.7. Under the

mortgage agreement the ADVANTAGE ANTHEM is cross-collateral for loans extended to

Advantage Anthem Shipping, LLC; Advantage Atom Shipping, LLC; and Advantage Award

Shipping, LLC under the loan agreement of the said parties with UnitCredit Bank AG.

       53.    By restructuring the corporate ownership of the Geden-Group most valuable assets,

as pled in the foregoing, siphoning them out to other nominee companies (“newcos”), and thus

“ring-fencing” them, for the express purpose of making them inaccessible as a source of recourse

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to creditors to whom the Geden-Group Defendants are indebted, Defendants constituted the

Advantage-Group of corporate entities successor companies of the Geden-Group of companies.

The said successor companies are a mere continuation of the enterprise that was being pursued by

the Geden-Group and a fraudulent effort to avoid its liabilities.

       54.     With the same conduct, as pled in detail in the foregoing, the corporate Defendants

are alter egos of EMIN KARAMEHMET and KARAMEHMET-WILLIAMS who completely

dominate them as evidenced by: their controlling ownership of their shares; their appointment of

overlapping officers and directors who serve at the pleasure of the said           individuals; the

incorporation of the successor companies by their predecessors; the carrying on business from the

same business address, with identical telephones and faxes; the carrying on of business by the

purportedly separate corporations through identical departments staffed by the same employees;

the transfer of all tangible assets from one group of corporate entities to "newcos" for the express

purpose of avoiding creditors disguised as arm’s length transactions; the making by Geden-Group

defendants of the arrangements for the financing of the Advantage-Group; the conduct of business

by the respective corporate defendants without corporate formalities by simple fiat of the

individual defendants EMIN KARAMEHMET and KARAMEHMET-WILLIAMS; the

commitment of the Advantage-Group vessels to such business as was selected for them by GEDEN

HOLDINGS, and such other facts as have been specifically pled in the foregoing.

       55.     The M/T ADVANTAGE ANTHEM is one of the assets which is beneficially

owned by Defendants and the said Defendants has tried to “ring-fence” out unpaid creditors,

including Plaintiff by means of transferring her legal ownership, and changing her registration and

name in order to prevent said creditors from attaching her as a source of security.            But,




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notwithstanding appearances, ownership and control over the said vessel remains with the same

beneficial owners, as and when she was named POWER and was registered in Malta.

                       V. APPLICATION FOR ATTACHMENT UNDER
                           SUPPLEMENTAL ADMIRALTY RULE B

        56.     None of the Defendants are present or can be found in the District within the

meaning of Rule B of the Supplemental Rules for Certain Admiralty and Maritime Law Claims.

See Attorney Declaration of George Gaitas attached hereto as EXHIBIT 10. Nevertheless,

Defendants have within the District tangible or intangible personal property in the hands of parties

who may be named garnishees in the process of maritime attachment and garnishment consisting

of debts, credits, or effects.

        57.     More particularly the M/T ADVANTAGE ANTHEM, a tanker vessel with IMO

No. 9472634 and international call sign V7KZ4, owned by Defendants, is or will soon be within

the Eastern District of Louisiana and is expected to berth therein.

        58.     Defendants have used and continue to use the purportedly corporate separateness,

and incorporated status of their surrogate entities SPACE, ANTHEM SHIPPING, ADVANTAGE

TANKERS, ADVANTAGE HOLDINGS, and FORWARD HOLDINGS abusively, to wit: to

engage in fraudulent corporate restructuring and asset reallocation practices in order to escape

their liability for failing to redeliver the CV STEALTH to her lawful owner and allowing same to

remain captive and subject to forfeiture to the Venezuelan government, to avoid payment of the

accrued bareboat charter hire, for the M/T CV STEALTH and to thereby repudiate with impunity

their fundamental obligations under the bareboat charter party.

        59.     Plaintiff has maritime claims against the Defendants arising out of maritime

contract (i.e. – the bareboat charter party with GEDEN and SPACE dated May 27, 2010 and the

performance guarantee of GEDEN of the same date).

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         60.   The amount of Plaintiff’s claims as reasonably as it can be estimated is as follows:

         A.     Unsecured Charter Hire due and owing ….……… $                1,408,176.00

         B. Interest at 6% compounded quarterly for 1 year………...$              86,680.68

         C. Recoverable Legal Fees and Costs………………………$                        200,000.00


         Total Claim…………………………………………………$                                     1,694,856.68

               64.     Therefore, Plaintiff’s total claim for breach of the maritime contracts

against Defendants is in the aggregate sum of US$ 1,694,856.68



WHEREFORE PREMISES CONSIDERED, Plaintiff prays as follows:

         A.    That process in due form of law, according to the practice of this Honorable Court

in matters of admiralty and maritime jurisdiction be issued against Defendants and said Defendants

be cited to appear and answer the allegations of this Original Verified Complaint;

         B.    That since the Defendants cannot be found within this District pursuant to

Supplemental Rule B, all of the assets of the Defendants presently within this District, or assets

expected in this District during the pendency of this action, including, but not limited to, the M/T

ADVANTAGE ANTHEM and/or any assets within the possession, custody or control of any other

garnishee upon whom a copy of the Process of Maritime Attachment and Garnishment issued in

this action may be served, be attached and garnished in an amount sufficient to answer Plaintiff’s

claim;

         C.    That this Court retain jurisdiction over this matter through the entry of any

judgment or award associated with any of the claims currently pending, or which may be initiated

in the future, including any appeals thereof;

         D.    That judgment be entered against each of the Defendants in the sum of One

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Million Six Hundred Ninety Four Thousand Eight Hundred Fifty Six Dollars and Sixty Eight

Cents (US$ 1,694,856.68) together with interest and costs, and the proceeds of the assets

attached be applied in satisfaction thereof;

          E.   That the Court grant such other and further relief as it deems, just, equitable and

proper.



                                                      Respectfully submitted,


Date: February 16, 2016                               CHALOS & CO, P.C.
      Houston, TX

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